 Case: 1:19-cr-00226 Document #: 401 Filed: 07/12/21 Page 1 of 2 PageID #:3383

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                      Case No.: 1:19−cr−00226
                                                        Honorable Virginia M. Kendall
Robert M. Kowalski, et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 12, 2021:


         MINUTE entry before the Honorable Virginia M. Kendall as to Robert M.
Kowalski. In Court Status hearing held on 7/12/2021. Defendant's Motions for extension
of time to file appeal [386] and [388] are granted. Notice of Appeal shall be filed by
7/16/2021. The Government has provided to the Defendant an external hard drive
containing hundreds of thousands of documents, letters describing where to find various
items (which had been provided to him in the past), a summary chart of loan
disbursements to him, a new production of boxes received from the DaVinci's Bar on a
thumb drive, records from Washington Federal (over 540,000 pages comprising for
example scanned checks), 2400 emails of the Defendant, new discovery in the form of law
enforcement interviews, and 75,000 loan files that are not active. Each time Defendant is
brought to court for a status, he is required to quarantine for 14 days. There is a computer
in that area; however, he is given limited access to it. Defendant, an attorney, is
representing himself. The Court requests that the Warden consider if there is a way to
provide Defendant with more computer time both during quarantine and when he is in
general population due to the volume of materials that he needs to review. This does not
mean that the Defendant is relieved of his obligation to follow the MCC procedures for
requesting computer time. The Court requests that Robert Steele be present at the next
court hearing in order to discuss with the Court any procedures that the MCC has for use
of its computers and for the review of discovery including the platforms used and the
types of computers. The Court warns Mr. Kowalski that he must diligently review the
discovery in this matter to be prepared for trial when that trial date is set. The Court will
be requesting specifically what materials Mr. Kowalski is reviewing in order to prevent
any argument that he has not had time or access to the materials. In Court Status hearing is
set for 7/26/2021 at 10:00 AM. Members of the public and media will be able to call in to
listen to this hearing. The call−in number is 1−650−479−3207 and the call−in Access
Code is 180 698 4009. Any party calling in is reminded to please mute their
phones/devices. Counsel of record will receive an email invitation prior to the start of the
video hearing with instructions to join the video conference. Time is excluded both due to
the complexity of the case and pursuant to Title 18, Section 3161(H)(1)(C) for the
numerous interlocutory appeals that Defendant has filed. Mr. Chiphe remains as standby
counsel available to reach out to potential witnesses on Mr. Kowalski's behalf. Mailed
notice (lk, )
 Case: 1:19-cr-00226 Document #: 401 Filed: 07/12/21 Page 2 of 2 PageID #:3384




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